                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                          CASE No. 6:16-cr-24-Orl-31DAB

JASON ALEXANDER PHIFER

            RESPONSE IN OPPOSITION TO DEFENDANT’S
            OBJECTIONS TO THE PRESENTENCE REPORT

      The United States of America, by A. Lee Bentley, III, United States

Attorney for the Middle District of Florida, hereby responds in opposition to

the Defendant’s objections to the Presentence Investigation Report. Doc. 75.

                   I. Factual and Procedural Background

      The Defendant was convicted at trial of Possession with intent to

Distribute Ethylone. The evidence presented at trial indicated that a package

containing approximately 1.5 kilograms of Ethylone was intercepted by

customs authorities in April 2015. On May 20, 2015, agents conducted a

controlled delivery of the 1.5 kilograms of Ethylone to the residence of the

Defendant. The Defendant accepted the package, and agents executed a

search warrant at the Defendant’s residence. During the search of the

Defendant’s residence, agents recovered the 1.5 kilograms of Ethylone, and

the Defendant led agents to an additional quantity of Ethylone hidden inside a

pool filter. Laboratory analysis indicates the total amount of Ethylone seized
from the Defendant’s residence was approximately 2.2 kilograms of Ethylone,

including the 1.5 kilograms in the controlled delivery package.

      Review of the Defendant’s e-mails revealed that the Ethylone in the

package and the Ethylone hidden inside the Defendant’s house were part of a

larger order of 3 kilograms ordered on Mach 30,2015 by the Defendant from a

China-based supplier using the e-mail address susan@glorybiochem. In fact,

the evidence indicated the Defendant received 1.5 kilograms, had 1.5

kilograms intercepted by customs (which ultimately became the package in the

controlled delivery), and then had the intercepted package replaced. In total,

the Defendant received 4.5 kilograms of Ethylone as part of his 3 kilogram

order. The evidence further indicated the Defendant made the following

orders of Ethylone from the same supplier:

         1. 250 grams on January 20, 2015;

         2. 1 kilogram on January 31, 2015; and

         3. 1 kilogram on March 11, 2015.

      The total amount of Ethylone evidenced by these orders is 6.75

kilograms.




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                           II. Memorandum of Law

   A. The Defendant should be held responsible for 6.75 kilograms of

      Ethylone.

      The Defendant objects to being held responsible for 5.25 kilograms of

Ethylone, and argues that he should be held accountable for only the 1.5

kilograms of Ethylone delivered to him on May 20, 2015. PSR ¶¶ 13-16. As

reflected in the factual background above, the Defendant should actually be

held responsible for 6.75 kilograms of Ethylone.

      Because multiple counts of drug offenses are required to be grouped

pursuant to USSG § 3D1.2(d), relevant conduct with regard to drug trafficking

offenses is covered by USSG § 1B1.3(a)(2), which includes as relevant conduct

all acts that were part of the “same course of conduct or common scheme or

plan as the offense of conviction.”

   1. The Defendant’s orders of Ethylone constitute part of a common
      scheme or plan.

      Application Note 5(B)(i) to USSG § 1B1.3 provides that two or more

offenses constitute part of a common scheme or plan if they are “substantially

connected to each other by at least one common factor, such as common

victims, common accomplices, common purpose, or similar modus operandi.”

      All of the Defendant’s Ethylone orders were part of a common scheme

or plan. All were placed to the same supplier, placed by e-mail, and shipped



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to a residence associated with the Defendant. Further, each time, the

Defendant paid for the orders by wiring money to the supplier. As such, each

of these offenses included a common accomplice (the Chinese supplier),

consisted of a common purpose (resupplying the Defendant with Ethylone for

distribution), and utilized common modus operandi (the ordering of the drugs

via e-mail, the wiring of payment, and the shipping of the drugs to various

addresses).

      Even if the prior orders are not considered, the Defendant should at

least be held accountable for the full 4.5 kilograms of Ethylone that were the

result of the same order that resulted in the controlled delivery, and that

brought the other stash of Ethylone that was found in the Defendant’s home.

Even though the Defendant did not order 4.5 kilograms, the Defendant’s

actions, including his demand for a replacement for his 1.5 kilograms believed

to be lost, resulted in the Defendant 4.5 kilograms of Ethylone being shipped

to the Defendant.

   2. The Defendant’s multiple orders of Ethylone constitute part of the
      same course of conduct

      Application Note 5(B)(ii) to USSG § 1B1.3 further provides: “[o]ffenses

that do not qualify as part of a common scheme or plan may nonetheless

qualify as part of the same course of conduct if they are sufficiently connected

or related to each other as to warrant the conclusion that they are part of a



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single episode, spree, or ongoing series of offenses.” In considering whether

offenses constitute part of a common scheme of plan, factors to consider

include “the degree of similarity of the offenses, the regularity (repetitions) of

the offenses, and the time interval between the offenses.” Id.

      All of the Defendant’s orders of Ethylone from the Chinese source were

part of the same course of conduct. Each of the Defendant’s orders for

Ethylone was qualitatively identical, the only difference being the quantities in

each order. The orders were made with regularity, with short time intervals

in between. The time intervals are further shortened when considering the

regular correspondence between the Defendant and the source of supply.

Based upon the e-mail communications between the Defendant and the source

of supply, it is apparent that the Defendant had an ongoing relationship with

the source of supply, which was only interrupted by the actions of law

enforcement.

      Even if the Defendant is not scored for the full 5.25 kilograms of

Ethylone from all of his orders, the Defendant should be scored for 4.5

kilograms of Ethylone, which were all the result of the same order as the

Ethylone found hidden in his house and the Ethylone contained in the

package.




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   B. Criminal History

      The Defendant further objects to being scored for an additional two

criminal history points, claiming his probation terminated on May 4, 2015,

and relevant conduct in this case is confined solely to May 20, 2015. The

Defendant’s objection to the Defendant’s additional criminal history points is

wholly without merit.

      Application Note 4 to USSG § 4A1.1(d) states that two points are

added if the defendant committed any part of the instant offense (i.e. any

relevant conduct) while under any criminal justice sentence…).

      In determining this issue, the Court does not need to look at the

previous orders of Ethylone by the Defendant, but only to the course of events

that brought the package that was at issue in the controlled delivery on May

20, 2015. The Defendant initially requested the 3 kilograms of Ethylone on

March 30, 2015 and began negotiating a price. Govt’s Trial Exh. 17. On

April 2, 2015, the Defendant confirmed order and sent payment. Id. The

source of supply divided the 3 kilograms into two packages containing 1.5

kilograms each. Id. The first 1.5-kilogram package appears to have been

delivered without incident on or about April 14, 2015. Id. In late April

2015, the Defendant began inquiring about the second parcel and requesting a

replacement parcel. Id. On April 28, 2015, the source of supply agreed, and




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the Defendant provided addresses for shipping on May 3, 2015 and May 4,

2015. Id. All of the above occurred while the Defendant was still on

probation.

         In light of the foregoing, the Defendant was properly scored the

additional two levels for engaging in part of the offense while he was still on

probation.

    C. Acceptance of Responsibility

         The Defendant maintains that he should receive a three-level reduction

for acceptance of responsibility notwithstanding the fact that he proceeded to

trial.

         Application Note 2 to USSG § 3E1.1 states that the adjustment for

acceptance of responsibility “is not intended to apply to a defendant who puts

the government to its burden of proof at trial by denying the essential factual

elements of guilt…” Going to trial, however, does not necessarily deprive a

defendant of the ability to receive a reduction for acceptance of responsibility.

The reduction may still apply, for example, if a defendant admits factual guilt,

but challenges the constitutionality of the statute or the applicability of the

statute to his conduct. United States v. Starks, 157 F.3d 833, 840 (11th Cir.

1998); see also USSG § 3E1.1 comment. (n.2); United States v. Diaz, 26 F.3d

1533, 1544-1555 (11th Cir. 1994).




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      In Starks, the Eleventh Circuit found the district court committed clear

error in granting a reduction for acceptance of responsibility where the

defendant admitted to engaging in illegal conduct, but was convicted at trial

where he denied having the requisite intent. 157 F.3d at 840-841. The Starks

court found that the defendant was making a factual, not a legal challenge to

the government’s allegations, because, while the defendant claims to have

admitted all the conduct prohibited by statute, the defendant put the

government to its burden at trial by contesting intent, which was an essential

element of the charge. Id. Furthermore, a defendant who admits

participating in drug deals, but defends on the basis that the statute of

limitations barred his conviction, is properly denied a reduction for acceptance

of responsibility. United States v. Dodd, 111 F.3d 867, 870 (11th Cir. 1997).

      In the current case, the Defendant proceeded to trial on the premise

that, as a factual matter, Ethylone is not a positional isomer of Butylone, and

is therefore not a controlled substance. At trial, the Defendant presented Dr.

Gregory Dudley as an expert witness in the field of chemistry to testify that, as

a matter of chemistry, Ethylone is not a positional isomer of Butylone.

Although in attempting to present competing definitions of positional isomer

to the jury the Defendant conflated matters of fact and law (over the objection

of the United States), the core issue the Defendant presented to the jury, as




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stated in the Defendant’s opening statement, was that Ethylone is not a

controlled substance.

      Further, the Defendant had notice of the United States’ proposed jury

instruction regarding the definition of a positional isomer for over two months

prior to the trial. Doc. 32. Had the Defendant truly desired to treat the issue

of whether Ethylone was a controlled substance as a matter of law, the

Defendant could have simply requested a pre-trial charging conference at

which testimony could have been presented as to the proper definition of a

positional isomer and as to whether Ethylone fit the definition of a positional

isomer as related to Butylone. The Defendant did not choose to handle the

issue as a matter of law for the Court to decide, but instead decided to hold the

United States to its burden before a jury. Even after the Court ruled that that

the legal definition of positional isomer applied, the defense counsel continued

before the jury insisting in closing arguments that the Defendant should be

found not guilty.   The Defendant does not get to eat his proverbial cake and

have it too. As such, the Defendant is not entitled to a reduction for

acceptance of responsibility.




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   D. Marijuana Equivalency Ratio

      The Defendant further objects to the scoring of Ethylone at a 500:1

marijuana equivalency ratio, arguing that the correct ratio is 200:1. The

Defendant puts forth no basis for the 200:1 ratio.

      Application Note 6 to USSG § 2D1.1 provides as follows:

      In the case of a controlled substance that is not specifically referenced in

this guideline, determine the base offense level using the marihuana

equivalency of the most closely related controlled substance referenced in this

guideline. In determining the most closely related controlled substance, the

court shall, to the extent practicable, consider the following:

      (A)   Whether the controlled substance not referenced in this

            guideline has a chemical structure that is substantially

            similar to a controlled substance referenced in this

            guideline.

      (B)   Whether the controlled substance not referenced in this

            guideline has a stimulant, depressant, or hallucinogenic

            effect on the central nervous system that is substantially

            similar to the stimulant, depressant, or hallucinogenic effect

            on the central nervous system of a controlled substance

            referenced in this guideline.




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      (C)     Whether a lesser of greater quantity of the controlled

              substance not referenced in this guideline is needed to

              produce a substantially similar effect on the central nervous

              system as a controlled substance referenced in this

              guideline.

      The United States intends to call Jordan Trecki, Ph.D., a

pharmacologist with the Drug Enforcement Administration, to testify at

sentencing.     The United States expects Dr. Trecki to testify to the

following:

      1. The effects of Ethylone on the central nervous system are

            substantially similar to 3,4- methylenedioxy-N-

            ethylamphetamine (MDEA); and

      2. While Ethylone was shown to be less potent than MDEA

            based on drug discrimination studies, the effects of Ethylone

            are substantially similar to MDEA.

      A full summary of Dr. Trecki’s opinions is attached as Exhibit 1.

Dr. Trecki’s curriculum vitae is attached as Exhibit 2.

      Further, the United States intends to call Dr. Thomas

DiBerardino, Ph.D., a chemist with the Drug Enforcement

Administration, to testify at sentencing. The United States anticipates




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that Dr. DiBerardino will testify that MDEA is the controlled substance

listed in the guideline that has a chemical structure most similar to the

chemical structure of Ethylone.

      A full summary of Dr. DiBerardino’s opinions is attached as

Exhibit 3. Dr. DiBerardino’s curriculum vitae is attached as Exhibit 4.

      The United States anticipates the testimony of Dr. Trecki and Dr.

DiBerardino to take a total of approximately one to two hours.

                               III.    Conclusion

      In light of the foregoing, the Defendant’s objections to paragraphs 13-16

(relevant conduct), 20 (acceptance of responsibility) and 36-37 (criminal

history computation) should be overruled based upon the case law and the

trial record. Further, the United States requests an evidentiary hearing as to

the Defendant’s objections with regard to the marijuana equivalency ratio

applicable to Ethylone.

                                          Respectfully submitted

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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 22, 2016, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to the following:

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